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                         IN THE UNITED STATES DISTRICT COURT

                         FOR THE EASTERN DISTRICT OF VIROINIA

                                      Richmond Division



UNITED STATES OF AMERICA,

       V.

                                                    CRIMINAL NO. 3:15-MJ-.
MARTIN L. KING


               Defendant


                                CRIMINAL INFORMATION


       THE UNITED STATES ATTORNEY CHARGES THAT:

At all relevant times:

        1. The defendant, MARTIN L. KING, vras on Richmond National Battlefield, GeM

Harbor Unit, Richmond, Virginia, in the Eastern District ofVirginia.

       2. Richmond National Battlefield, Cold Harbor Unit is property administered by the

National Park Service and is >Mthin the special territorial juiisdiction of the United States and

this Court.

                                         COUNT ONE
                                    (Citation No. 0560791)

       On or about May 3, 2015, in the Eastern District of Virginia Richmond National

Batdefield, Gold Ilai'bor Unit is property administered by the National Park Service and is within

the special territorial jurisdiction of the United States and this Court, defendant, MARTIN L.

KING, did drive a vehicle    a speed and in a manner so     lu euUaiigei Uie life, limb, or property   ' '
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